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                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF OREGON



INDEX NEWSPAPERS LLC d/b/a                        Case No. 3:20-cv-1035-SI
PORTLAND MERCURY; DOUG
BROWN; BRIAN CONLEY; SAM                          ORDER DENYING FEDERAL
GEHRKE; MATHIEU LEWIS-ROLLAND;                    DEFENDANTS’ RENEWED MOTION
KAT MAHONEY; SERGIO OLMOS;                        TO STAY PRELIMINARY
JOHN RUDOFF; ALEX MILAN TRACY;                    INJUNCTION PENDING APPEAL
TUCK WOODSTOCK; JUSTIN YAU; and
those similarly situated,

               Plaintiffs,

       v.

CITY OF PORTLAND; JOHN DOES 1-60;
U.S. DEPARTMENT OF HOMELAND
SECURITY; and U.S. MARSHALS
SERVICE,

               Defendants.


Matthew Borden, J. Noah Hagey, Athul K. Acharya, and Gunnar K. Martz, BRAUNHAGEY &
BORDEN LLP, 351 California Street, Tenth Floor, San Francisco, CA 94104; Kelly K. Simon,
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and 16 News Media Organizations.

Michael H. Simon, District Judge.

       On August 20, 2020, the Court issued its Opinion and Order Granting Preliminary

Injunction Against Federal Defendants. ECF 157. In that Opinion and Order, the Court also

denied the oral motion made by the Federal Defendants during the hearing on August 18th to

stay any preliminary injunction that the Court might issue. Id. at 61 (¶ 10). On August 21st, the

Federal Defendants filed their notice of appeal. ECF 158. On August 24th, the Federal

Defendants filed a renewed motion to stay. ECF 159. In that motion, the Federal Defendants

state that on August 25th they intend to ask the U.S. Court of Appeals for the Ninth Circuit to

stay the preliminary injunction pending appeal. Id. at 2. For the reasons explained below, the

Court denies the Federal Defendants’ renewed motion to stay.

       A request for a stay pending appeal is committed to the exercise of judicial discretion.

Virginian Ry. Co. v. United States, 272 U.S. 658, 672 (1926). A party requesting a stay pending

appeal “bears the burden of showing that the circumstances justify an exercise of that

discretion.” Nken v. Holder, 556 U.S. 418, 433-34 (2009). In considering whether to exercise




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discretion by granting a motion to stay a preliminary injunction pending appeal, a court applies

the familiar standard set forth by the Supreme Court in Nken, namely: (1) whether the movants-

appellants (here, the Federal Defendants) have made a “strong showing” of the likelihood of

success on the merits; (2) whether the movants will be irreparably injured absent a stay;

(3) whether a stay will substantially injure other parties; and (4) where the public interest lies. Id.

at 426. “The first two factors . . . are the most critical.” Id. at 434.

        As further explained by the Ninth Circuit, Nken instructed “that if the petition has not

made a certain threshold showing regarding irreparable harm . . . then a stay may not issue,

regardless of the petitioner’s proof regarding the other stay factors.” Leiva-Perez v. Holder, 640

F.3d 962, 965 (9th Cir. 2011) (per curiam) (citing Nken, 556 U.S. at 433-34). Cf. Al Otro Lado v.

Wolf, 952 F.3d 999, 1007 (9th Cir. 2020) (listing the Nken factors and explaining, “We first

consider the government’s showing on irreparable harm, then discuss the likelihood of success

on the merits under the sliding scale approach”) (emphasis added); see also Doe #1 v.

Trump, 957 F.3d 1050, 1058 (9th Cir. 2020) (same).

        Moreover, in the context of a stay request, “simply showing some possibility of

irreparable injury” is insufficient. Nken, 556 U.S. at 434 (simplified). Rather, at this juncture, a

party moving to stay a preliminary injunction has the burden of showing that irreparable injury is

likely to occur during the period before the appeal is decided. Doe #1, 957 F.3d at 1059.

A. Whether the Federal Defendants Will Be Irreparably Injured Absent a Stay

        The Federal Defendants argue that the preliminary injunction

                issues intrusive, unworkable, and vague instructions to federal law
                enforcement officers. An officer confronted by rioters, in the dark
                and in the fog of fear and uncertainty, and making split-second
                decisions that affect the officer’s life as well as the lives of fellow
                officers and the public, must carefully examine each and every
                member of a dangerous unlawful gathering to determine whether
                any of them has a “press badge,” “professional equipment,”


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                “distinctive clothing,” is distant from “protest activities,” or has
                some other indicia of being a journalist or a legal observer.

ECF 159 at 5-6. This assertion by the Federal Defendants, however, is belied by two important

pieces of evidence.

        First, an almost identical order has been in place in this case against Defendant City of

Portland (and the Portland Police Bureau) since July 2, 2020, when the Court entered a

temporary restraining order against the City. ECF 33. After Plaintiffs requested a preliminary

injunction, the City, rather than oppose that motion, stipulated with Plaintiffs to the entry of a

preliminary injunction (ECF 48), which the Court granted. ECF 49. The City did not contend that

the terms of the stipulated preliminary injunction were intrusive, unworkable, or vague.

        Further, after Plaintiffs added the Federal Defendants to this lawsuit and moved for a

temporary restraining order against them, the City filed a memorandum in support of Plaintiffs’

motion for a temporary restraining order against the Federal Defendants. ECF 70. The City

explained:

                Quite simply, the City objects to federal defendants targeting non-
                violent protesters, reporters, and legal observers. The City also
                strongly objects to the continued unlawful presence of heavily
                armed federal officers on Portland streets despite the City’s
                repeated requests to the contrary. The actions of federal defendants
                are escalating violence, inflaming tensions in our City, and
                harming Portlanders who seek to engage in non-violent protests in
                support of racial justice. Serious and credible allegations have been
                made that the federal government has effectively kidnapped people
                off Portland streets, among other abuses of power. The force used
                by federal defendants has allegedly also resulted in at least one
                very serious injury to a person shot in the head with an impact
                munition. The City rejects the unlawful actions of federal
                defendants and believes that a temporary restraining order is
                necessary to prevent further abuses.

Id. at 2.




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        Second, in support of their motion for a preliminary injunction against the Federal

Defendants, Plaintiffs submitted an expert witness declaration and a reply declaration from

Mr. Gil Kerlikowske. ECF 135; ECF 145. The Federal Defendants chose not to cross examine

Mr. Kerlikowske, but merely to file their own rebuttal expert declaration (ECF 152), which the

Federal Defendants filed after oral argument. See ECF 157 at 23 n.4. The Court nevertheless

considered all declarations from both witnesses and found Mr. Kerlikowske to be qualified,

credible, and persuasive. Id. at 23. As noted by the Court, Mr. Kerlikowske is a former

Commissioner of U.S. Customs and Border Protection, who was confirmed by the U.S. Senate.

Mr. Kerlikowske also served as the Chief of Police in Seattle, Washington from 2000 through

2009, and the Police Commissioner in Buffalo, New York. He has worked in law enforcement

for 47 years. Id.

        As noted by the Court in its Opinion and Order, Mr. Kerlikowske

                 opined that the prohibitions contained in the TRO are safe for law
                 enforcement personnel. Defending the federal courthouse in
                 Portland mainly involves establishing a perimeter around the
                 building, and there is no reason to target or disperse journalists
                 from that position. Additionally, to the extent officers leave federal
                 property, the TRO is also safe for federal law enforcement officers,
                 according to Mr. Kerlikowske.

                 Second, Mr. Kerlikowske stated his expert opinion that the TRO is
                 workable. He states that trained and experienced law enforcement
                 personnel are able to protect public safety without dispersing
                 journalists and legal observers and can differentiate press from
                 protesters, even in the heat of crowd control. He adds that any
                 difficulties that may be faced by federal authorities arise from their
                 lack of training, experience, and leadership with experience in civil
                 disturbances and unrest.

Id. at 24.

        The Court further noted that Mr. Kerlikowske opined that “based on his review of the

record evidence virtually all the injuries suffered by the complaining journalists were the result



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of improper use of force, including shooting people who were not engaged in threatening acts

and misuse of crowd-control munitions by federal law enforcement personnel.” Id. Finally, the

Court explained that “Mr. Kerlikowske asserts that in his expert opinion a key duty and

responsibility of law enforcement is to be properly and easily identifiable specific to the

organization and the individual. He notes that if a decision is made to remove a name tag, it must

be replaced with some other identifying label, badge, or shield number. Mr. Kerlikowske

explains that such markings increase accountability and act as a check and deterrent against

misconduct. He adds that camouflage uniforms are inappropriate for urban settings.” Id. at 25.

As previously stated, the Court found “Mr. Kerlikowske to be a well-qualified expert whose

opinions are relevant, helpful, and persuasive.” Id.

       Based on (1) the fact that the terms of the preliminary injunction are safe and workable

for the Defendant City of Portland and the Portland Police Bureau and (2) the expert opinions of

Mr. Kerlikowske, the Court finds that the Federal Defendants have not met their burden of

showing that irreparable injury is likely to occur during the period before the appeal is decided.

Doe #1, 957 F.3d at 1059. At most, the Federal Defendant assert only “some possibility of

irreparable injury,” which is insufficient. See Nken, 556 U.S. at 434.

B. Whether the Remaining Factors Support a Stay

       In their renewed motion to stay, the Federal Defendants also argue: (1) that Plaintiffs lack

standing to pursue injunctive relief; (2) that Plaintiffs’ right-of-access claim is contrary to law;

and (3) that Plaintiffs’ retaliation claims are legally and factually baseless. The Court sufficiently

addressed these issues in its Opinion and Order Granting Preliminary Injunction. See ECF 157

at 28-30 (discussing standing); at 41-47 (discussing right of access); and at 33-41 (discussing

First Amendment retaliation). As previously noted by the Court, Plaintiffs’ right-of-access claim

involves important issues under the First Amendment, following the Ninth Circuit’s decision in


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Leigh v. Salazar, 677 F.3d 892, 897 (9th Cir. 2012). See also ECF 157 at 1-7 (noting certain

unresolved questions under the First Amendment). Plaintiffs’ First Amendment retaliation claim,

however, is straight-forward, fact-intensive, and well-supported, at least at this stage of the

litigation. See ECF 157 at 33-41. The Court also notes that for purposes of the Court’s

consideration of Plaintiffs’ motion for preliminary injunction against the Federal Defendants,

Plaintiffs and the Federal Defendants stipulated that there was no need for an evidentiary hearing

or cross-examination and that the Court could base its factual findings and conclusions of law on

the written record and oral argument of counsel. See id. at 7. The Court did precisely that.

       For the reasons stated above, the Court DENIES the Federal Defendants’ Renewed

Motion to Stay Preliminary Injunction Pending Appeal (ECF 159).

       IT IS SO ORDERED.

       DATED this 25th day of August, 2020.

                                                      /s/ Michael H. Simon
                                                      Michael H. Simon
                                                      United States District Judge




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